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 7

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-00204-TLN
12                                 Plaintiff,            STIPULATION AND ORDER DISMISSING
                                                         CHARGE TWO AND VACATING EVIDENTIARY
13                           v.                          HEARING
14   CHRISTOPHER M. GRADY,                               DATE: January 30, 2020
                                                         TIME: 1:30 p.m.
15                                Defendant.             COURT: Hon. Troy L. Nunley
16

17

18                                                STIPULATION
19          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

20 through defendant’s counsel of record, hereby stipulate as follows:

21          1.       By previous order, this matter was set for an evidentiary hearing on January 30, 2020.

22          2.       By this stipulation, the United States now moves to dismiss Charge 2 in the Petition for

23 Warrant or Summons for Offender Under Supervision. Docket 177.

24          3.       The United States has discussed with the Probation Officer in this case, who is

25 recommending a dismissal of Charge 2.

26          4.       By this stipulation, the parties now move to vacate the evidentiary hearing set on January

27 30, 2020.

28          5.       The defendant made his initial appearance on November 18, 2019. The defendant denied


      STIPULATION REGARDING DISMISSAL OF CHARGE           1
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 1 Charge 2 in the Petition on December 5, 2019. The defendant is not currently detained.

 2         IT IS SO STIPULATED.

 3

 4
     Dated: January 8, 2020                                MCGREGOR W. SCOTT
 5                                                         United States Attorney
 6
                                                           /s/ TANYA B. SYED
 7                                                         TANYA B. SYED
                                                           Assistant United States Attorney
 8

 9
     Dated: January 8, 2020                                /s/ LINDA ALLISON
10                                                         LINDA ALLISON
11                                                         Counsel for Defendant
                                                           CHRISTOPHER M. GRADY
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13
                                         FINDINGS AND ORDER
14
           IT IS SO FOUND AND ORDERED this 8th day of January, 2020.
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18                                                        Troy L. Nunley
19                                                        United States District Judge

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      STIPULATION REGARDING DISMISSAL OF CHARGE       2
